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_UNITED STATES DISTRICT_COURT

for_ the

Ao 442 (Rev. 11/11) Anesrwanqn;

District of Columbia

United States of America

 

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. ease 1 19~”"1] 00 H Ney,G.l\/l\chae
- RYAN JASELSKIS ) Assigned 10 MaQ\S‘fra“; ~‘“dge a .
) vAs'sign. Date'. 2/13/20.1 \ _m l
) ' D`escripflo“ C"m‘-na\Comp al l
~o t ) ` .
z Defendant z _ ' F I L § D
§ ARREST WARRANT FEB 1 4 2019
To:- Any‘-;`uthorized law enforcement officer ~ C|erk, U S. DlStrlCt and
~ 53 ' BankrUPny Courts

YO[LARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person‘m'be alresteaD Ryan Ja$elskis

who' 1s accused of an offense or violation based on the following document filed with tlie court1

I'J Indictment Cl Superseding Indictment D Information CI Superseding lnformation [jComplaint
El Probation Violation Petition ij Supervised Release Violation Petition [:l Violation Notice ij Order of the Court
This offense is briefly described as follows:

18 U.S.C. § 8"44(i) - Arson

 

Date; 02/13/2019

 

wsuin\g%' s signature 0

G. I\/I|CHAEL HARVEY U. S. |V|agistrate Judge

Prz`nted name and title

City` and state: Washington, DC ,

 

 

 

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This~warrant was received on (daze) ig'/f §f l 51 , and the person was arrested on tdate) 5- / .’;’/ l il b
~ at (c_ity and srate) \,\]e_g`\~_` n ¢,\w h 0 C . ' ‘ `
. . ' ./
w h vt.i t z /»'7
Date: 7’/!'_7/| 1 ‘j / » -7"

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j/ Arrestj{g/y]"cer 's signature

 

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Printed name and title

 

 

